Case 23-53099-pwb        Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40             Desc Main
                                  Document      Page 1 of 37


                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                              :   CHAPTER 13
                                                    :
SHANIKA GRIFFIN,                                    :   CASE NO. 23-53099-PWB
                                                    :
         Debtor.                                    :
                                                    :
                                                    :
FREEDOM MORTGAGE CORPORATION,                       :   CONTESTED MATTER
                                                    :
         Movant.                                    :
                                                    :
vs.                                                 :
SHANIKA GRIFFIN,
                                                    :
K. EDWARD SAFIR, Trustee
                                                    :
         Respondents.                               :
                                                    :

                                        NOTICE OF HEARING

        PLEASE TAKE NOTICE that MOVANT has filed a Motion for Relief from Stay and
related papers with the Court seeking an order modifying the automatic stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
at 10:15 a.m. on August 16, 2023 in Courtroom 1401, United States Courthouse, 75 Ted
Turner Drive, SW, Atlanta, Georgia 30303, which may be attended in person or via the
Court’s Virtual Hearing Room. You may join the Virtual Hearing Room through the “Dial-in
and Virtual Bankruptcy Hearing Information” link at the top of the homepage of the
Court’s website, www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also
be found on the Court’s website. Please also review the “Hearing Information” tab on the
judge’s webpage for further information about the hearing. You should be prepared to appear at
the hearing via video, but you may leave your camera in the off position until the
Court instructs otherwise. Unrepresented persons who do not have video capability may
use the telephone dial-in information on the judge’s webpage.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in these pleadings or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleadings with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk before the hearing. The address of the Clerk's Office is Clerk, U. S.Bankruptcy Court,
Case 23-53099-pwb        Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40           Desc Main
                                  Document      Page 2 of 37



Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
response to the undersigned at the address stated below.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.

       Dated this:   07/27/2023



                                               /s/ Ciro A Mestres
                                               Ciro A Mestres, GA BAR NO. 840253
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-6516
                                               Ciro.Mestres@mccalla.com
Case 23-53099-pwb         Doc 19     Filed 07/27/23 Entered 07/27/23 11:53:40         Desc Main
                                    Document      Page 3 of 37



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                    ) CHAPTER 13
                                                          )
SHANIKA GRIFFIN,                                          ) CASE NO. 23-53099-pwb
                                                          )
         Debtor.                                          )
                                                          )
                                                          )
FREEDOM MORTGAGE CORPORATION,                             ) CONTESTED MATTER
                                                          )
         Movant.                                          )
                                                          )
vs.                                                       )
SHANIKA GRIFFIN,                                          )
K. EDWARD SAFIR, Trustee                                  )
                                                          )
         Respondents.


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. Said real property is security for a promissory note, and is commonly known as 189

Durham Lake Pkwy, Fairburn, Georgia 30213 (the “Property”).

                                                  3.

         Debtor has defaulted in making payments which have come due since this case was filed.
Case 23-53099-pwb         Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40             Desc Main
                                   Document      Page 4 of 37



As of July 13, 2023, Debtor is delinquent for three (3) payments of $2,115.84 each (May 2023-

July 2023; less a suspense balance of $0.00, pursuant to the terms of the Note.

                                                  4.

       As of July 13, 2023, the unpaid principal balance is $346,816.86, and interest is due

thereon in accordance with the Note.

                                                  5.

       Because of Debtor's default and inability to make all required payments, Movant is not

adequately protected and shows that there is cause for relief from the automatic stay.

                                                  6.

       Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                  7.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document      Page 5 of 37




                                      /s/ Ciro A Mestres
                                      Ciro A Mestres, Georgia BAR NO. 840253
                                      Attorney for Movant
                                      McCalla Raymer Leibert Pierce, LLC
                                      1544 Old Alabama Road
                                      Roswell, Georgia 30076
                                      678-281-6516
                                      312-803-9663
                                      Ciro.Mestres@mccalla.com
Case 23-53099-pwb       Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40          Desc Main
                                 Document      Page 6 of 37



                                            BANKRUPTCY CASE NO. 23-53099-PWB

                                            CHAPTER 13

                                 CERTIFICATE OF SERVICE

      I, Ciro A Mestres, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in
this bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, postage prepaid, unless another manner of service is expressly indicated:

Shanika Griffin
189 Durham Lake Parkway
Fairburn, GA 30213

Lorena Lee Saedi                            (served via ECF notification)
Saedi Law Group, LLC
3006 Clairmont Rd. Ste 112
Atlanta, GA 30329

K. Edward Safir, Trustee                    (served via ECF notification)
Standing Chapter 13 Trustee
Suite 1600
285 Peachtree Center Ave. NE
Atlanta, GA 30303

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:    07/27/2023       By:    /s/ Ciro A Mestres
                    (date)              Ciro A Mestres Georgia BAR NO. 840253
                                        Attorney for Movant
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document      Page 7 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document      Page 8 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document      Page 9 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 10 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 11 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 12 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 13 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 14 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 15 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 16 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 17 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 18 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 19 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 20 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 21 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 22 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 23 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 24 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 25 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 26 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 27 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 28 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 29 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 30 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 31 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 32 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 33 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 34 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 35 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 36 of 37
Case 23-53099-pwb   Doc 19    Filed 07/27/23 Entered 07/27/23 11:53:40   Desc Main
                             Document     Page 37 of 37
